        Case 3:16-cv-01345-AWT Document 291-1 Filed 12/28/20 Page 1 of 1




                                              Exhibit 1



Plaintiffs consent to the public filing of the below:

   1. Expert Report of Daniel Alexander ¶¶ 1–38;

   2. Expert Report of Gerald Buetow ¶¶ 1–21;

   3. Expert Report of Wendy Dominguez ¶¶ 1–23, 28–71, 141–143, 147, 152, 179, 187, 188,

       213;

   4. Expert Report of Ty Minnich ¶¶ 1–13, 20–88;

   5. Rebuttal Report of Ty Minnich ¶¶ 1–4, 6–11, 17–20, 36, 39–40,43, 48, 67–69;

   6. Expert Report of Al Otto ¶¶ 1–10, 16–64;

   7. Excerpts of the Deposition of Daniel Alexander pp. 22–23, 57–58, 62–64, 66, 68, 107–

       109, 126–127, 130–131, 133, 270, 360, 362;

   8. Excerpts of the Deposition of Gerald Buetow pp. 25–28;

   9. Excerpts of the Deposition of Wendy Dominguez pp. 26, 48–49, 82–83, 90–92, 105,

       130;

   10. Excerpts of the Deposition of Ty Minnich pp. 9, 32, 118, 132; and

   11. Excerpts of the Deposition of Al Otto pp. 28, 37–38, 101.
